
PER CURIAM.
In this appeal filed pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), B.S.C. challenges his delinquency adjudication. We affirm the adjudication and disposition, but remand for correction of that part of the written order of commitment which states that B.S.C. was adjudicated delinquent after being found guilty of being a principal to robbery with a deadly weapon. At the disposition hearing, the trial court specifically pronounced that it found B.S.C. and his codefendant guilty of being principals to robbery with a weapon. Cf. § 812.13(2)(a), Fla. Stat. (1993) (robbery with deadly weapon is first-degree felony punishable by term of years not exceeding life) with § 812.13(2)(b), Fla. Stat. (1993) (robbery "with weapon is first-degree felony punishable by term of years not exceeding 30 years). Because a written judgment must not vary from the court’s oral pronouncement, we remand with directions to correct the written judgment to reflect that B.S.C. was found guilty of robbery with a weapon. Burdick v. State, 476 So.2d 317 (Fla. 2d DCA 1985).
Affirmed and remanded with directions.
SCHOONOVER, A.C.J., and PARKER and ALTENBERND, JJ., concur.
